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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,


                                                                    13 Cr. 261 (PKC)
                 -against-
                                                                        ORDER
SAUL CABALLERO,

                                    Defendant.
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CASTEL, District Judge:

                 Mr. Caballero’s motion for appointment of counsel (Doc. 261) is denied without

prejudice, applying the Hodge factors. It will be deemed an application for release for

extraordinary and compelling reasons.

                 The government is directed to respond by November 13, 2020.

                 SO ORDERED.




Dated: New York, New York
       November 2, 2020
